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Appendix E

Client services - Other
From: Message Center Client Services

To; scontS45303

Date: 3:24pm ET 22/12/2022

Helio Mr. Traudt,

TO Ameritrade has been provided the following infarmation below regarding Meta Materials inc. (MMTLP) and the announced corporate action to exchange shares of MMTLP for shares of Next Bridge
Hydrocarbons, inc. common stock.

The fotlowing information has been retrieved via FINRA natice dated 12/8/22:

MMTLP shareholders with setting positions as of 22/12/22 will receive one (1) share of Next Bridge Hydrocarbons, Inc. for every one (1) share of MMTLP held, Purchases of MMTLP executed after 12/8/22 wil!
not receive the distribution, Will not be quoted Ex. Symbol: MMTLP will be deleted effective 12/13/22.

Meta Matoriais inc. is going through an exchange

Ratio: Li

New Name: Next Gridge Hydrocarbons, Inc.

New TickerfCUSIP: N/A. The now sheres wil not trade publicly.
Anticipated swing date: 12/14/2022

Please note that this is @ fluid situation and that Information may be subject to change at any time. TD Ameritrade has. not been provided any additionat information beyond what is provided above. We are
fot able to speculate regarding the handiing of short positions as TD Ameritrade has not received any Information on the topic. MMTLP Is not available te borraw through TD Ameritrade.

For additional information and updates on this corporate action, as well as trading and quotation halt, please refer to the finks below to the company’s Investor Relations page and FINRA website:
Rrtpsyfi SL fnows

https:/fatee.tinra.org/otce/dailyti

bttpsi/veww.finta.org/sites/default/files/2022-12/UPC-35-2022-MMTLPR2BHaitKZ9_Z.odt

Sincerely,

Dustin H.
Ctiem Services

TO Ameritrade
1-800-669-3900

TD Ameritrade, lnc, member FINRA/SIPC, Not an offer or solicitation to conduct business in any jurisdiction where we are not authorized to do business. Communications may be subject ta review.

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